Case 1:17-cv-00290-JCF Document1 Filed 01/25/17 Pagelof7

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
ADAM MIKEL ROSEMAN
l
Plaintiff, | CIVIL ACTION
1 NO,
V. I
ALLIED VAN LINES,

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Defendant. I

DEFENDANT’S NOTICE OF REMOVAL

COMES NOW, Defendant ALLIED VAN LINES, INC. improperly named
as ALLIED VAN LINES (hereinafter “Defendant”), by and through counsel, and
files this Notice of Removal as follows:

1.

Plaintiff ADAM MIKEL ROSEMAN (hereinafter “Plaintiff’) filed a civil
action against Defendant in the Magistrate Court of Gwinnett County, State of
Georgia, Civil Action File No. 16M37691. A copy of the Statement of Claim is

attached hereto as Exhibit "A".

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2.

At the time of the filing of the Statement of Claim, upon information and
belief, Plaintiff was a Georgia citizen, residing at 900 Marseilles Drive, Atlanta,
Fulton County, Georgia 30327.

3.

At the time of the filing of the Statement of Claim, Defendant was, and is, a
Delaware corporation with its principal office located at 5001 U.S. Highway 30
West, Fort Wayne, Indiana 46818.

4.

Plaintiff purportedly served Defendant through its registered agent for
service of process on December 27, 2016. (See Sheriffs Entry of Service, Exhibit
“B”), This Notice of Removal is timely because it is filed within thirty (30) days
after receipt by Defendant of a copy of the initial pleading setting forth the claim
upon which this action is based. 28 U.S.C. § 1446(b).

5.

Plaintiff alleges in its Statement of Claim that Defendant is liable for

damages in excess of $10,000, exclusive of interest and costs, related to alleged

loss and damage to goods. (See Statement of Claim, Exhibit “A”).

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6.

The foregoing magistrate court action is properly removable to this Court,
pursuant to 28 U.S.C. §§ 1331 and 1337, in that it arises out of interstate commerce
under the laws or treaties of the United States, with an amount in dispute exceeding
$10,000, exclusive of interest and costs.

7.
Plaintiff's state law claims are completely preempted by 49 U.S.C. § 14706,

et seq. See Georgia, Florida and Alabama Ry. Co. v. Blish Milling Co., 241 U.S.

190 (1916); Smith v. United Parcel Sve., 296 F.3d 1244, 1247 (11th Cir. 2002).

8.
Removal to this district is proper, pursuant to 28 U.S.C. § 90.
9,

Defendant hereby gives notice within thirty (30) days after service and
receipt by Defendant of a copy of the Statement of Claim filed in the Magistrate
Court of Gwinnett County, State of Georgia, pursuant to 28 U.S.C. § 1446 and
Rule 11 of the Federal Rules of Civil Procedure, of the removal of said action to

this Court.

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9.

Defendant has filed a Notice of Removal in the Magistrate Court of
Gwinnett County, State of Georgia. A copy of the Notice of Removal, exclusive of
exhibits, filed with the Magistrate Court of Gwinnett County is attached hereto as
Exhibit "C".

10.
Good and sufficient defenses to Plaintiffs claim exist.
11.

No previous application for the relief sought herein has been made to this or
any other Court.

WHEREFORE, it is hereby requested that this Court grant the removal of
this case to the United States District Court for the Northern District of Georgia, in
which district this suit is pending.

/s/ Scott W. McMickle
SCOTT W. MCMICKLE
Georgia Bar No. 497779
/s/David L. Schwartz
DAVID L. SCHWARTZ

Georgia Bar No. 406627
Attorneys for Defendant

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

ADAM MIKEL ROSEMAN

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I
Plaintiff, ' CIVIL ACTION

NO.
Vv.

I
J
ALLIED VAN LINES,
I

Defendant.

CERTIFICATE OF SERVICE

I hereby certify that on January 25, 2017, I electronically filed
DEFENDANT’S NOTICE OF REMOVAL with the Clerk of Court using the
CM/ECF system which will automatically send email notification of such filing to
the following attorneys of record:

None

And by depositing same in the United States Mail in a properly-addressed
envelope with adequate postage thereon to:

Mr. Adam Mikel Roseman
900 Marseilles Drive
Atlanta, GA 30327

/s/ Scott W. McMickle
SCOTT W. MCMICKLE
Georgia Bar No. 497779
/s/David L. Schwartz
DAVID L. SCHWARTZ

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THIS IS TO CERTIFY that, pursuant to LR 5.1B, NDGA, the above document
was prepared in Times New Roman, 14 pt.

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